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             In the United States Court of Federal Claims
                                            No. 02-306 C

                                       (E-Filed: June 30, 2006)

_______________________________________
                                                           )
                                                           )   Motion for Reconsideration;
RENDA MARINE, INC.,                                        )   Whether the CDA Bars Review
                                                               of Allegedly Invalid Contracting
                                                           )
                                                               Officer’s Decision When
                          Plaintiff,                       )   Review is Sought After More
                                                           )   Than Twelve Months Have
v.                                                         )   Elapsed “From the Date of the
                                                           )   Receipt by the Contractor of the
                                                               Decision of the Contracting
THE UNITED STATES,                                         )
                                                               Officer”; 41 U.S.C. § 609(a)(3);
                                                           )   Whether Allegedly Invalid
                          Defendant.                       )   Contracting Officer’s Decision
                                                           )   is “Final and Conclusive” Under
_______________________________________                    )   41 U.S.C. § 605(b)


Clarence T. Kipps, Jr., Washington, DC, for plaintiff. Lisanne E.S. Cottington,
Washington, DC, and Brian W. Erikson, Dallas, TX, of counsel.

John E. Kosloske, with whom were Peter D. Keisler, Assistant Attorney General, and
David M. Cohen, Director, Commercial Litigation Branch, Civil Division, United States
Department of Justice, Washington, DC, for defendant. P. Alex Petty, Office of Counsel,
Galveston District, United States Army Corps of Engineers, Galveston, TX, of counsel.

                                             OPINION

HEWITT, Judge

       The court has before it Plaintiff’s Motion Request[i]ng the Court’s Modification of
Its April 19, 2005 Opinion and Order (Pl.’s Reconsid. Mot. or Motion for
Reconsideration);1 Defendant’s Response to Plaintiff’s Motion for Reconsideration of


      1
          The court found that this filing “is most appropriately construed as a Motion for
                                                                                       (continued...)
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Court’s April 19, 2005 Opinion and Order (Def.’s Reconsid. Resp. or Reconsideration
Response) accompanied by an appendix (Def.’s Reconsid. Resp. App.); Plaintiff’s Reply
to Defendant’s Response to Plaintiff’s Motion for Reconsideration of Court’s April 19,
2005 Opinion and Order (Pl.’s Reconsid. Reply or Reply); Plaintiff’s Motion for Leave to
File a Supplemental Brief in Support of Its Motion to Modify the Court’s April 19, 2005
Opinion (Pl.’s Mot. for Leave or Motion for Leave) with which was filed Plaintiff’s
Supplemental Brief in Support of Its Motion to Modify the Court’s April 19, 2005
Opinion (Pl’s Supp. Br. or Supplemental Brief); and Defendant’s Response to Plaintiff’s
Motion for Leave to Amend Plaintiff’s June 1, 2005 Motion to Modify the Court’s April
19, 2005 Opinion and Order and to File a Supplemental Brief (Def.’s Supp. Br. Resp. or
Supplemental Brief Response). Plaintiff moves the court “to modify its April 19, 2005
Opinion and Order . . . to hold that the contracting officer’s November 26, 2002 ‘final
decision’ . . . is a nullity to the extent [that] [the decision of the contracting officer]
addresses or is premised on denial of the certified claims included in Renda’s Complaint
filed in this [c]ourt on April 11, 2002.” Pl.’s Reconsid. Mot. at 1. Plaintiff also “moves
the [c]ourt for leave to amend its Motion to Modify the Court’s April 19, 2005 Opinion . .
. to file the attached supplemental brief in support thereof.” Pl.’s Mot. for Leave at 1.
The court hereby GRANTS plaintiff’s Motion for Leave and considers plaintiff’s
Supplemental Brief and defendant’s Supplemental Brief Response in its disposition of
plaintiff’s Motion for Reconsideration. For the following reasons, plaintiff’s Motion for
Reconsideration is DENIED.

I.     Background

       Between January and October of 2001, Renda Marine, Inc. (Renda) submitted a
number of certified claims to Thomas Benero, Contracting Officer, Chief of the
Contracting Division for the Army Corps of Engineers in Galveston, Texas, related to
Renda’s performance of Contract No. DACW64-99-C-0001, known as the Upper Bayou
Project Contract (Upper Bayou Contract or Contract). See Def.’s Reconsid. Resp. App.
(Final Decision) at 8; Renda Marine, Inc.’s Memorandum of Contentions of Fact & Law
(Pl.’s Memo.) at 2; PX 1614 (letter of November 6, 2001 from Mr. Benero to Renda
acknowledging receipt of certified claim); PX 1615 (same); PX 1617 (same); JX 92
(same); PX 1619 (same but dated November 7, 2001). As of April 2002, the contracting
officer had not yet issued a final decision on any of Renda’s certified claims. See
Complaint (Compl.) ¶ 17. Accordingly, on April 11, 2002, Renda filed suit against the
government under the Contract Disputes Act, 41 U.S.C. §§ 601-613 (2000) (CDA),
seeking a total of $14,244,848 plus interest upon eight claims related to Renda’s

       1
       (...continued)
Reconsideration.” Order of June 6, 2005 at 2.

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performance of the Upper Bayou Contract.2 See Complaint (Compl.) at 1, 29. Defendant
filed its answer to plaintiff’s complaint on July 25, 2002. See Answer (Ans.). On
November 26, 2002 the contracting officer (CO) for the Upper Bayou Contract issued a
“Final Decision” (Final Decision) upon six government counterclaims against Renda
relating to the Upper Bayou Contract in the total amount of $11,860,016. See Def.’s
Reconsid. Resp. App. (Final Decision) at 1-4. The Final Decision stated, in pertinent
part:

              This is a final decision of the Contracting Officer. This decision
       may be appealed to the Armed Services Board of Contract Appeals . . . . If
       you decide to appeal, you must mail or . . . otherwise furnish written notice
       thereof to the Armed Services Board of Contract Appeals within 90 days
       from the date you received this decision. . . . In lieu of appealing to the
       Armed Services Board of Contract Appeals, you may bring an action
       directly in the U.S. Court of Federal Claims . . . within 12 months of the
       date you receive this decision.

Id. at 5. Renda did not appeal the CO’s Final Decision to Armed Services Board of
Contract Appeals (the Board), nor did it bring an action in this court in lieu of filing an
appeal with the Board within twelve months of its receipt of the Final Decision on or
around November 26, 2002. See Def.’s Reconsid. Resp. at 3-4.

      On July 1, 2004, more than nineteen months after the approximate date on which
Renda received the CO’s Final Decision, plaintiff filed a motion for leave in this court,
pursuant to Rule 15(a) of the Rules of the Court of Federal Claims (RCFC), to amend its
complaint in this case “to make the Contracting Officer’s Final Decision ‘a subject of
Renda’s complaint in this case.’” Motion by Renda Marine, Inc., for Leave of Court to
Amend Complaint (Mot. to Amend or Motion to Amend) at 2. The Motion to Amend
was accompanied by an Appendix ( Mot. to Amend App.). The Motion to Amend sought


       2
          Section 605(a) of the Contract Disputes Act, 41 U.S.C. §§ 601-613 (2000) (CDA),
requires that “[a]ll claims by a contractor against the government relating to a contract . . . be in
writing and . . . be submitted to the contracting officer for a decision.” 41 U.S.C. § 605(a).
Where the amount of a claim exceeds $100,000, the claim must be certified by the contractor. §
605(c)(1). Section 605 also requires “[t]he contracting officer [to] issue his decisions in writing,
and . . . [to] furnish a copy of the decision to the contractor.” § 605(a). If the CO fails to issue a
decision upon the contractor’s claim within sixty days, the CDA provides that the contracting
officer is deemed to have made a decision denying the claim, § 605(c)(1), (5), and authorizes the
commencement of an appeal to an agency board of contract appeals (BCA), § 606, or an action
brought directly in this court, § 609.

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to amend the plaintiff’s complaint with, inter alia, a count that “the Contracting Officer’s
Final Decision of November 26, 2002, is a nullity or is otherwise invalid” and requesting
relief in the form of a delcaration by the court to that effect. Mot. to Amend App. A ¶
228. On July 30, 2004, the court denied plaintiff’s Motion to Amend, finding that
“[p]laintiff’s explanation for its belated challenge to the contracting officer’s November
26, 2002 final decision is . . . unpersuasive.” Order of July 30, 2004 at 7. The court
noted that “[p]laintiff does not dispute either that it timely received the final decision or
that it declined to exercise its appeal rights under the Contract Dispute[s] Act, in
particular, to appeal the decision to an agency board of contract appeals or to institute a
proceeding in this court upon that claim.” Id. (citing 41 U.S.C. §§ 606, 609(a)(1), (3)
(2000)). The court concluded: “Because plaintiff has failed to establish that ‘justice . . .
requires’ the proposed amendment of the complaint, plaintiff’s motion is DENIED.” Id.
(quoting RCFC 15(a)); see also Foman v. Davis, 371 U.S. 178, 182 (1962) (recognizing
“undue delay . . . on the part of the movant” as a proper basis for denying a motion to
amend a complaint under correlative Federal Rule of Civil Procedure (FRCP) 15(a)); Te-
Moak Bands of W. Shoshone Indians of Nev. v. United States, 948 F.2d 1258, 1262-63
(Fed. Cir. 1991) (“Delay alone, even without a demonstration of prejudice, has thus been
sufficient grounds to deny amendment of pleadings [under FRCP 15(a)]. . . . [T]he party
seeking to amend must justify that request by more than invocation of the concept of the
rule’s liberality.”).

        On April 6, 2005, one day before the close of trial in this case, Renda filed
Plaintiff’s Motion for Trial Amendment (Motion for Trial Amendment), which the court
construed as a motion to amend the complaint pursuant to RCFC 15(b). Renda Marine,
Inc. v. United States (Renda I), 65 Fed. Cl. 152, 153 (2005). On April 19, 2005 the court
denied plaintiff’s Motion for Trial Amendment for lack of subject matter jurisdiction,
finding that the motion sought to insert a claim into this case that Renda had not
previously submitted as a certified claim to the contracting officer for decision. Id. at
162. The court also stated that “[i]t is not clear whether plaintiff’s [Motion for Trial
Amendment] is, in part, another attempt to have the court review the November 2002
contracting officer’s decision.” Id. To the extent that plaintiff’s Motion for Trial
Amendment was such an attempt, the court rejected it, explaining that,

               [a]t the close of trial, plaintiff’s counsel was again advised by the
       court that the November 2002 contracting officer’s decision was not before
       the court, whereupon plaintiff’s counsel retorted, “Well, it should have
       been.” Trial Tr[anscript (Tr.)] at 5357:17. It may indeed be true that the
       claim “should have been” before the court, but plaintiff has its own
       litigation strategy to blame for the circumstance that it is not. Plaintiff’s
       counsel admits that he was aware of the contracting officer’s decision at or

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       near the time it was issued. Arg[ument] Tr. at 17:12-13. Plaintiff’s counsel
       also admits that he expected defendant to bring the decision before the court
       in a counterclaim and that plaintiff made a conscious choice not to appeal
       the decision within the twelve-month statutory timeframe. Id. at 16:22-
       17:1. Plaintiff itself failed timely to appeal the November 2002 contracting
       officer’s decision. That decision is now “final and conclusive” and not
       reviewable by this court. 41 U.S.C. § 605(b).3

Id. The court concluded, “R[CFC] 15(b) cannot be invoked to resurrect an otherwise
time-barred claim and bring it within this court’s jurisdiction. To the extent that
plaintiff’s motion seeks to amend its complaint to include a claim involving the
November 2002 final decision, that request is DENIED for lack of jurisdiction.” Id.

        On June 1, 2005 plaintiff filed its Motion for Reconsideration, requesting that the
court modify its April 19, 2005 Opinion and Order and “hold that the contracting officer’s
November 26, 2002 ‘final decision’ . . . is a nullity to the extent the [Final Decision]
addresses or is premised on denial of the certified claims included in Renda’s Complaint
filed in this [c]ourt on April 11, 2002. Pl.’s Reconsid. Mot. at 1. After responsive
briefing on plaintiff’s Motion for Reconsideration had concluded, the court heard oral
arguments on plaintiff’s Motion for Reconsideration on July 14, 2005. On July 28, 2005
the court issued its trial opinion in this case (Trial Opinion), finding that plaintiff “failed
to prove by a preponderance of the credible evidence that it is entitled to recover on its
[differing site condition] claims.” Renda Marine, Inc. v. United States (Renda II), 66
Fed. Cl. 639, 721 (2005).4 On April 7, 2006, plaintiff explained in its Motion for Leave
that,

       [a]t the time it filed its [Motion for Reconsideration], Renda anticipated that
       the [c]ourt would rule that Renda was entitled to recover on the differing
       site conditions claims, and that Renda would be able to raise the merits of




       3
        Section 605(b) of the CDA states, in pertinent part: “The contracting officer’s decision
on the claim shall be final and conclusive and not subject to review by any forum, tribunal, or
Government agency, unless an appeal or suit is timely commenced as authorized by this chapter.”
41 U.S.C. § 605(b).
       4
         The Trial Opinion did not enter judgment for the United States, however. The court
instead suggested certain further proceedings to be based on the record at trial. Renda II, 66 Fed.
Cl. at 721-722. In its opinion filed on June 29, 2006 in this matter, the court entered its order
terminating those further proceedings.

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       the . . . issue [of whether the contracting officer’s Final Decision is a
       nullity] when the Government asserted its claims as an offset.

               However, in light of the views expressed by the [c]ourt at oral
       argument, and in light of the [c]ourt’s July 28, 2005[] denial of Renda’s
       differing site conditions claims, Renda now requests that the [c]ourt decide
       the merits of whether the CO’s Letter is a nullity, either because it was
       premised on issues already the subject of litigation before this [c]ourt, or for
       one of the other reasons that a purported CO final decision is not accorded
       finality under section 605(b) of the [CDA].

Pl.’s Mot. for Leave at 1. The court proceeds now to address plaintiff’s Motion for
Reconsideration and Supplemental Brief.

II.    Discussion

       A.     Motions for Reconsideration

        RCFC 59(a)(1) affords this court discretion to grant reconsideration “to all or any
of the parties and on all or part of the issues, for any of the reasons established by the
rules of common law or equity applicable as between private parties in the courts of the
United States.” RCFC 59(a)(1) (2002); see Yuba Natural Res., Inc. v. United States, 904
F.2d 1577, 1583 (Fed. Cir. 1990). A showing in support of the motion “must be based
‘upon manifest error of law, or mistake of fact, and is not intended to give an unhappy
litigant an additional chance to sway the court.’” Fru-Con Constr. Corp. v. United States,
44 Fed. Cl. 298, 300 (1999) (quoting Bishop v. United States, 26 Cl. Ct. 281, 286 (1992)).
A party moving under RCFC 59 “does not persuade the court to grant . . . a motion [for
reconsideration] by merely reasserting arguments which were previously made and were
carefully considered by the court.” Coconut Grove Entm’t, Inc. v. United States, 46 Fed.
Cl. 249, 255 (2000); see also Gelco Builders & Burjay Constr. Corp. v. United States, 369
F.2d 992, 1000 n.7 (Ct. Cl. 1966). Moreover, RCFC 59 is not intended to allow a movant
to raise additional theories that it failed to advance in connection with the underlying
decision that it moves the court to reconsider. Corrigan v. United States, 70 Fed. Cl. 665,
669 (2006); see Fru-Con, 44 Fed. Cl. at 301 (“Because ‘[t]he litigation process rests on
the assumption that both parties present their case once, to their best advantage,’ a strong
public policy precludes a reconsideration motion based on evidence that was readily
available at the time the original motion was heard.” (quoting Aerolease Long Beach v.
United States, 31 Fed. Cl. 342, 376 (1994))). “‘Litigants should not, on a motion for
reconsideration, be permitted to attempt an extensive retrial based on evidence which was
manifestly available at [the] time of the hearing.’” Hill v. United States, 69 Fed. Cl. 467,

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468 (2006) (quoting Bishop, 26 Cl. Ct. at 286); see also Frietsch v. Refco, Inc., 56 F.3d
825, 828 (7th Cir. 1995) (“It is not the purpose of allowing motions for reconsideration to
enable a party to complete presenting his case after the court has ruled against him.”).

       B.      The Parties’ Arguments

       Plaintiff argues that “41 U.S.C. § 605(c)(5) 5 [] gives this [c]ourt . . . exclusive
jurisdiction over the certified claims included in Renda’s Complaint and divests the
contracting officer of authority to take action with respect to those claims.” Pl.’s
Reconsid. Mot. at 2. Thus, according to plaintiff, the CO’s Final Decision – issued over
seven months after plaintiff filed its complaint in this court – was not “final and
conclusive” as the court found in its April 19, 2006 Opinion and Order, see Renda I, 65
Fed. Cl. at 156, but rather, was “invalid” or a “nullity” because “the contracting officer
lacked authority to issue a final decision on Renda’s certified claims that were properly
before this [c]ourt.” Pl.’s Reconsid. Mot. at 9-10.

        Without citing any authority directly supporting this proposition, plaintiff argues
that “Renda was not required to appeal an unauthorized contracting officer’s decision.”
Pl.’s Reconsid. Reply at 2. And, because plaintiff did not appeal the CO’s Final Decision
within the statutory period provided by 41 U.S.C. § 609(a)(3),6 plaintiff argues that “there
are exceptions to the general rule set forth in section 605(b) . . . that a CO’s final decision
is accorded finality if not timely appealed.” Pl.’s Supp. Br. at 2. Thus, plaintiff contends
that the court “should examine whether any of the . . . exceptions applies to excuse
Renda’s failure to appeal the CO’s [Final Decision] within one year.” Id. According to
plaintiff, “[t]he principal exception that applies to excuse Renda’s failure to appeal the
CO’s [Final Decision] within one year is based on the Sharman case.” Id. at 4. In
addition, plaintiff alleges that an “exception concerning ‘gross mistake’ . . . applies to
Renda.” Id. Finally, plaintiff contends that an exception to the statutory period provided
in section 605(b) for appeal may apply here because “there is a serious question as to




       5
         Section 605(c)(5) of the CDA states, in pertinent part: “Any failure by the contracting
officer to issue a decision on a contract claim within the period required will be deemed to be a
decision by the contracting officer denying the claim and will authorize the commencement of
the appeal or suit on the claim as otherwise provided in this chapter.” 41 U.S.C. § 605(c)(5).
       6
         Section 609(a)(3) of the CDA states, in pertinent part, that actions in the Court of Federal
Claims in lieu of appealing the decision of the contracting officer to an agency board “shall be
filed within twelve months from the date of the receipt by the contractor of the decision of the
contracting officer concerning the claim.” 41 U.S.C. § 609(a)(3).

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whether any of the claims asserted in the CO’s [Final Decision] were actually the CO’s
decisions.” Id. at 5.

        Defendant responds that

       the Government claims which are the subject of the November 2002
       contracting officer’s decision are not the “mirror image” of, or the same as,
       the equitable adjustment claims by Renda that are the subject of the
       complaint in this litigation. Consequently, the filing of the complaint in this
       case did not divest the contracting officer of the authority to issue the
       November 2002 final decision.

Def.’s Reconsid. Resp. at 22. In addition, defendant argues that,

              [o]n its face, 41 U.S.C. § 605(b) has a preclusive effect upon any
       contracting officer’s decision consonant with the criteria established by 41
       U.S.C. § 605(a) for such decisions that is not the subject of a timely appeal
       to a board or action in this [c]ourt, including a contracting officer’s decision
       alleged to have been issued without the requisite authority. . . . Neither
       section 605(b) nor, for that matter, section 605(a) mentions a contracting
       officer’s authority to issue a decision or otherwise distinguishes between
       valid and invalid decisions. Under the CDA, a contractor who believes that
       a contracting officer’s decision is unauthorized must appeal the decision to
       a board of contract appeals or commence an action in the Court of Federal
       Claims within the time limits prescribed by the statute in order to avoid the
       preclusive effect of section 605(b).

Def.’s Supp. Br. Resp. at 23-24.

        As to plaintiff’s contention that an exception to the statutory period provided in
sections 605 and 609 exists where the CO’s final decision is based on “gross mistake,”
defendant responds that “Section 605(a) makes no exception for decisions issued as the
result of a gross mistake and [gross mistake] would not be a recognized ground for tolling
of the limitations period in 41 U.S.C. § 609(a)(3).” Id. at 26. Finally, defendant argues
that the authorities on which plaintiff relies do not support plaintiff’s contention that the
statutory time limit in sections 605 and 609 does not apply where the final decision of a
CO is allegedly not the CO’s “independent decision.” Id. at 29-30. Defendant concludes:

       The predicament in which plaintiff finds itself, i.e., the lack of an
       opportunity to test the validity of the November 2002 contracting officer

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       decision in either of the fora designated by the CDA, is one of its own
       making. Plaintiff neglected to timely challenge that decision either by an
       appeal to a board of contract appeals or by a direct action in the Court of
       Federal Claims. The [c]ourt, consequently, is now precluded by 41 U.S.C.
       § 605(b) from reviewing the contracting officer’s decision.

Id. at 30.

       C.     Analysis

       In summary, the court agrees with defendant. Plaintiff has repeatedly attempted to
interject into this litigation the question of the validity of the CO’s Final Decision of
November 2002 that was never appealed by plaintiff, and the court has consistently
rejected plaintiff’s attempts. See Renda I, 65 Fed. Cl. at 156-57 (“Notwithstanding the
court’s determination that it lacks jurisdiction to review a contracting officer’s final
decision that was not timely appealed, plaintiff attempted, without success, to bring the
decision before the court twice during pretrial proceedings, twice during trial, and again,
by indirection, in the motion presently pending before the court.” (citing 41 U.S.C. §
605(b))) (footnotes omitted). As the court explained in Renda I,

      On the second day of the pretrial conference, February 23, 2005, plaintiff’s
counsel raised the November 2002 decision as “an issue related to” the settlement of this
case:

              There is a legal impediment that we have run into that I think
              the court can help us with, and the problem that we have run
              into is that before we can begin any meaningful settlement
              discussions, the government feels that the government has a
              trump card, namely the contracting officer’s final decision of
              November 26th, 2002, which was issued about seven months
              after Renda filed this lawsuit. We feel as a matter of law that
              it is a legal nullity, and if the court could give us some
              guidance on that, and if the court would entertain some
              briefing, I think that it would become pretty clear, and then
              we could discuss settlement with some earnest, but–

       [Pretrial Tr.] at 239:5-18. The court rejected plaintiff’s late-appearing
       attempt to raise this jurisdictionally-barred issue in the guise of an
       impediment to settlement: “You have known at least since 2002 that you



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       had this circumstance. This is completely out of order. . . . [I]f you have a
       vulnerability here, that is lawyering, and not settlement.” Id. at 239:20-25.

65 Fed. Cl. at 156 n.4. The court declines to reconsider its previous rejections and
fashion an “exception” to the specific limitations period and concomitant finality rule
under the CDA for bringing an action in this court based on a CO’s final decision.

       1.     The Statute of Limitations for Appeal of a Contracting Officer’s Final
              Decision Under the CDA

        As sovereign, the United States is “immune from suit save as it consents to be
sued.” United States v. Sherwood, 312 U.S. 584, 586 (1941). “Statutes of limitations,
such as contained in the CDA, are ‘waiver[s] of sovereign immunity and thus must be
strictly construed.’” Hamza v. United States, 36 Fed. Cl. 10, 13-14 (1996) (quoting
Bowen v. City of New York, 476 U.S. 467, 479 (1986)). Section 605(b) of the CDA
provides that a CO’s final decision on a contractor’s claim “shall be final and conclusive
and not subject to review by any forum, tribunal, or Government agency, unless an appeal
or suit is timely commenced as authorized by this chapter.” 41 U.S.C. § 605(b). A
contractor who contests a contracting officer’s decision has a choice between two
exclusive remedies: it may appeal the decision to an agency board of contract appeals
(BCA) within ninety days from the date of receipt of the decision, 41 U.S.C. § 606, or it
may “bring an action directly on the claim in the United States Court of Federal Claims,”
41 U.S.C. § 609(a); see Seaboard Lumber Co. v. United States, 903 F.2d 1560, 1562
(Fed. Cir. 1990). For a contractor that chooses the latter remedy, the CDA provides that
an action filed in the United States Court of Federal Claims “shall be filed within twelve
months from the date of the receipt by the contractor of the decision of the contracting
officer concerning the claim.” 41 U.S.C. § 609(a)(3). Actual physical receipt of the
contracting officer’s decision is the critical event that starts the running of the statute of
limitations. Borough of Alpine v. United States, 923 F.2d 170, 172 (Fed. Cir. 1991).
Timely filing provides the court with the requisite jurisdiction to allow adjudication of the
claim. See Handel v. United States, 16 Cl. Ct. 70, 73 (1988). On the other hand, “the
lack of timely filing renders the contracting officer’s decision ‘final and conclusive and
not subject to review by any forum . . . .’” Hamza, 36 Fed. Cl. at 14 (quoting 41 U.S.C. §
605(b)); see also Seaboard Lumber, 903 F.2d at 1562 (“[O]nce the decision of the
contracting officer becomes final on a government claim against the contractor, the merits
of that decision cannot be judicially challenged.”); Krueger v. United States, 26 Cl. Ct.
841, 844 (1992) (“If the contractor does not begin an action within one year of the receipt
of the final decision by the contracting officer, the Claims Court lacks the requisite
jurisdiction to entertain the claim, and the contracting officer’s decision is final and
conclusive.”).

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        As stated by this court’s predecessor, “Congress has set the twelve-months limit,
and this court cannot and should not read into it exceptions and tolling provisions
Congress did not contemplate or authorize.” Gregory Lumber Co. v. United States, 229
Ct. Cl. 762, 763 (1982). “Absent any express and unequivocal statutory basis, this court
may not, under long established principles, waive or extend a statutory limitation on the
sovereign’s immunity to suit.” Dico, Inc. v. United States, 33 Fed. Cl. 1, 4 n.3 (1993),
aff’d, 48 F.3d 1199 (Fed. Cir. 1995). The court “cannot extend jurisdiction in the interest
of equity.” UNR Indus., Inc. v. United States, 962 F.2d 1013, 1023 (Fed. Cir. 1992) (en
banc) (citing Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 818 (1988)); see
also White Buffalo Constr., Inc. v. United States, 28 Fed. Cl. 145, 147 (1992) (“Because
Congress legislatively mandated the twelve-month time period, it cannot be extended out
of sympathy for particular litigants, even if this effects a seemingly harsh result.”). Nor is
the court “free to engraft exceptions on the statute of limitations. Should Congress so
desire, it may lengthen the time for bringing suit against the government.” Hart v. United
States, 910 F.2d 815, 819 (Fed. Cir. 1990); see also id. at 818-19 (“The statute of
limitations is jurisdictional in nature and, as an express limitation on the waiver of
sovereign immunity, may not be waived.”). Absent congressional action, the court cannot
read into the CDA “exceptions” to the specific statutory time limit for bringing actions
under the CDA in this court. See United States v. Kasler Elec. Co., 123 F.3d 341, 346
(6th Cir. 1997) (“The provisions of the CDA allowing a contractor to dispute the
government’s claims regarding a contract are specific, unambiguous, and exclusive; the
statute clearly states that a contractor may seek review of a final decision only in a board
of contract appeals or in the Court of Federal Claims. Absent commencement of such
review within the prescribed period of time, the decision becomes impervious to any
substantive review.” (citing 41 U.S.C. §§ 605(b), 606, 609(a))).

       2.     Whether Plaintiff Is Excepted From the Twelve-Month Statutory Time
              Limit Provided in the CDA for Bringing an Action in This Court Based on a
              Contracting Officer’s Final Decision

        Plaintiff does not dispute that it received the CO’s Final Decision issued on
November 26, 2002. Renda I, 65 Fed. Cl. at 156 (quoting Order of July 7, 2005 at 7).
Plaintiff does not allege – nor could it – that the Final Decision did not adequately inform
plaintiff of its appeal rights. See Def.’s Reconsid. Resp. App (Final Decision) at 5
(clearly and expressly informing plaintiff of its appeal rights and applicable limitations
periods). Nor does plaintiff contend that it did file an appeal of the CO’s Final Decision
with the Board within ninety days of its receipt or that it brought an action in this court
based on the CO’s Final Decision within twelve months of its receipt. Accordingly, in the
court’s view, the inquiry is at an end and the court’s conclusion in its April 19, 2005
Opinion and Order that the CO’s Final Decision is “‘final and conclusive’ and not

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reviewable by this court,” Renda I, 65 Fed. Cl. at 162, should not be disturbed, see W.
Coast Gen. Corp. v. Dalton, 39 F.3d 312, 315 (Fed. Cir. 1994) (“West Coast received the
CO’s decision denying its gas line claim on April 28, 1989. The CO’s decision set forth
West Coast’s appeal rights. The appeal period thus commenced April 28, 1989. West
Coast’s period for appealing to the Board ended in July 1989, and the period for filing a
complaint in the Court of Federal Claims ended in April 1990. Under the CDA, West
Coast could no longer appeal after April 1990. Thus, the Board properly dismissed West
Coast’s March 20, 1992 appeal.”).

        However, plaintiff argues that “[t]he courts have recognized that there are
exceptions to the general rule set forth in section 605(b) of the CDA that a CO’s final
decision is accorded finality if not timely appealed.” Pl.’s Supp. Br. at 2. The court
proceeds now to address the “exceptions” to section 605(b) alleged by plaintiff to excuse
its failure to bring an action in this court based on the CO’s Final Decision within twelve
months of its receipt.7

       a.      Whether Sharman Provides an Exception to the Twelve-Month Statutory
               Time Limit Provided in the CDA for Bringing an Action in This Court
               Based on a Contracting Officer’s Final Decision

       Plaintiff places its principal reliance on Sharman Co. v. United States, 2 F.3d 1564
(Fed. Cir. 1993), overruled on other grounds by Reflectone, Inc. v. Dalton, 60 F.3d 1572
(Fed. Cir. 1995) (en banc), to support its argument that the court should reconsider its
April 19, 2005 Opinion and Order and excuse plaintiff’s failure to appeal timely the CO’s
Final Decision. See Pl.’s Supp. Br. at 4 (“The principal exception that applies to excuse
Renda’s failure to appeal the CO’s [Final Decision] within one year is . . . based on the
Sharman case.”). In Sharman, the plaintiff filed a complaint against the government in
the United States Claims Court8 on February 2, 1990, alleging, inter alia, entitlement to
certain progress payments from the government under the plaintiff’s contract with the
United States Marine Corps. 2 F.3d at 1566-67. Afterwards, on October 18, 1990, the
contracting officer sent the plaintiff a “notice of the Contracting Officer’s final decision”


       7
        Plaintiff mentions five purported “exceptions” to the finality rule set forth in section
605(b) of the CDA. However, plaintiff only argues that three of these exceptions apply to Renda
See Pl.’s Supp. Br. at 4-5. Accordingly, the court considers only these three.
       8
        At the time that the plaintiff in Sharman initiated its action, the trial court was known as
the “United States Claims Court.” As of October 29, 1992, pursuant to Title IX of the Federal
Courts Administration Act of 1992, Pub. L. No. 102-572, 106 Stat. 4506, the Claims Court was
renamed the “United States Court of Federal Claims.”

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regarding the return of the progress payments. Id. at 1567. After the trial court partially
dismissed the case, Sharman amended its complaint on January 6, 1992 to include a
specific challenge to the government’s right to payment of the progress payments. Id. at
1567-68. The government then counterclaimed in the trial court for the progress
payments. Id. at 1568. On June 11, 1992, the Claims Court entered judgment for the
government on its counterclaim. Id. On appeal, the United States Court of Appeals for
the Federal Circuit held that once a claim is the subject of litigation, the Justice
Department has exclusive authority over the claim and the CO is divested of authority to
issue a final decision on that claim. 2 F.3d at 1571-72. Accordingly, the final decision
regarding the progress payments issued by the CO during the litigation of that claim in the
Claims Court was “issued without authority and consequently . . . a nullity.” Id. at 1572.
And, because there was no final decision “prior to the commencement of [the plaintiff’s]
suit, the Claims Court lacked jurisdiction to entertain the suit.” Id. at 1568 (quotation
omitted).9

        The Sharman court based its holding on 28 U.S.C. §§ 516-520 (2000), see
Sharman, 2 F.3d at 1571, which states, in pertinent part, that “the conduct of litigation in
which the United States . . . is a party, or is interested, and securing evidence therefor, is
reserved to officers of the Department of Justice, under the direction of the Attorney
General,” 28 U.S.C. § 516. Based on this section, the Federal Circuit found that once a
claim is “in litigation,” the CO is divested of authority to issue a final decision on that
claim because the Justice Department has exclusive authority over the claim. Sharman,
2.F.3d at 1571-72. The court reasoned as follows that the government’s claim had been
“in litigation” at the time the contracting officer purported to issue a final decision with
respect to it:

       Sharman’s original complaint was filed on February 2, 1990, alleging
       entitlement to the government’s progress payments under a quantum meruit
       theory as part of its “reimburse[ment] . . . for the value of the work
       performed.” . . . [T]his asserted entitlement to the progress payments in


       9
         Sharman has been overruled by Reflectone, Inc. v. Dalton, 60 F.3d 1572 (Fed. Cir. 1995)
(en banc), but only on the point made by the court in Sharman that a claim is not a “claim” for
purposes of 48 C.F.R. § 33.201 (2005), unless it was disputed at the time it was submitted to the
CO. See Reflectone, 60 F.3d at 1579, 1579 n.10 (“To the extent that Dawco and its progeny
[citing page 1571 of Sharman in the footnote] have been read to also hold that, based on FAR
33.201, a ‘claim’ . . . must already be in dispute when submitted to the CO, they are hereby
overruled.”). The holding for which plaintiff cites Sharman, however, was not affected by
Reflectone and has been reaffirmed in subsequent Federal Circuit case law. See, e.g., Case, Inc.
v. United States, 88 F.3d 1004, 1009-10 (Fed. Cir. 1996).

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       Sharman’s original complaint is the same “claim” as stated by Sharman’s
       amended complaint and the government’s counterclaim, because in each
       case the “claim” alleges entitlement to the same money based on the same
       partial performance, only under a different legal label. Therefore, the
       progress payment “claim” was in litigation between the parties as of the
       date that Sharman’s original complaint was filed.

       ....

       Because this claim was effectively put in litigation by Sharman’s original
       complaint and because the contracting officer had not issued a final
       decision as to either the government claim or the contractor’s mirror image
       claim before the original suit was filed, the Claims Court did not have
       jurisdiction over either claim.

Id. at 1571-73 (first ellipsis in original); see also Case, Inc. v. United States, 88 F.3d
1004, 1010 (Fed. Cir. 1996) (“In Sharman, both the contractor’s initial claim asserting
entitlement to progress payments and the government’s subsequent counterclaim for the
return of progress payments involved precisely ‘the same money based on the same
partial performance, only under a different label.’ Thus, we referred to the contractor’s
claim as being the ‘mirror image’ of the government’s claim.” (quoting Sharman, 2 F.3d
at 1573)).

        Contrary to plaintiff’s assertions, the Sharman court did not hold that the rule that
the CO is divested of authority to issue a final decision on a claim once that claim is the
subject of litigation constitutes an “exception” to the twelve-month limitations period set
forth in section 609(a)(3) of the CDA or the finality rule set forth in section 605(b) of the
CDA. See id. passim. In fact, the twelve-month limitations period was not mentioned in
Sharman and the Federal Circuit offered no opinion as to whether its holding could
somehow be construed as carving out an “exception” to the clearly stated finality rule in
section 605(b) of the CDA. Cf. id. at 1571 n.10 (“Because claimed entitlement to the
progress payments was at issue when the original complaint was filed, this is the time at
which jurisdiction must be determined. Therefore, . . . we need not address the effect of
Sharman’s later amendments to the complaint or the government’s counterclaim and their
relation to the October 1990 decision to determine whether the Claims Court had
jurisdiction.”). In this court’s view, the omission of such a discussion in Sharman is
explained because, among other reasons, it could not be so construed. See Hart, 910 F.2d
at 819 (“Courts are not free to engraft exceptions on the statute of limitations. Should
Congress so desire, it may lengthen the time for bringing suit against the government.”);
Gregory Lumber, 229 Ct. Cl. at 763 (“Congress has set the twelve-months limit, and this

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court cannot and should not read into it exceptions and tolling provisions Congress did
not contemplate or authorize.”).

        Section 605(b) unambiguously provides that “[t]he contracting officer’s decision
on the claim shall be final and conclusive and not subject to review by any forum,
tribunal, or Government agency, unless an appeal or suit is timely commenced as
authorized by this chapter.” 41 U.S.C. § 605(b). The plain language of the CDA clearly
confers finality and unreviewability on a CO’s decision that is not properly appealed
within the statutory period provided. That finality is not limited by the CO’s authority to
issue such a decision or the validity of the CO’s decision. Kasler, 123 F.3d at 346. The
statute affords the opportunity to challenge the authority and/or validity of a decision,
provided the challenge is made within the statutory period. If a challenge is not made
within the statutory period, section 605(b) mandates that the CO’s decision “be final and
conclusive and not subject to review.” 41 U.S.C. § 605(b). The court refuses to read into
the CDA an exception to this clear finality rule. See Hamza, 36 Fed. Cl. at 15 (“With
respect to actions filed under the CDA, Congress has limited th[e government’s] waiver
[of sovereign immunity] by virtue of the twelve month statute of limitations and only
Congress can expand the extent to which consent has been given. Since the statute of
limitations is a jurisdictional requirement, ‘the court cannot waive it on grounds of policy
or equity.’ Accordingly, this court lacks the power to extend the statute of limitations
beyond the twelve month period authorized by Congress.” (quoting Computer Prods.
Int’l, Inc. v. United States, 26 Cl. Ct. 518, 528 (1992))).

         The court notes that absent from sections 605(b) and 609(a)(3) is any mention of
the “validity” of a CO’s decision or a CO’s “authorization” to issue a decision. Section
605(b) does not state that a – “valid” or “authorized” – “contracting officer’s decision on
the claim shall be final and conclusive and not subject to review . . . unless an appeal or
suit is timely commenced as authorized by this chapter.” 41 U.S.C. 605(b). In addition,
section 609(a)(3) does not state that “[a]ny action [challenging the decision of a
contracting officer brought in the United States Court of Federal Claims] shall be filed
within twelve months from the date of the receipt by the contractor of the” – “valid” or
“authorized” – “decision of the contracting officer concerning the claim.” 41 U.S.C. §
609(a)(3). The court declines to read these words into the CDA in order to fashion an
exception to the twelve-month limitations period and the finality rule in the CDA that
would permit it to consider the merits of an otherwise time-barred claim. See 2A Norman
J. Singer, [Sutherland] Statutes and Statutory Construction § 46:01, at 113-118 (6th ed.
2000) (Singer) (“[W]hen the language of the statute is clear and not unreasonable or
illogical in its operation, the court may not go outside the statute to give it a different
meaning.”); Consumer Prod. Safety Comm’n v. GTE Sylvania, Inc., 447 U.S. 102, 108
(1980) (“[T]he starting point for interpreting a statute is the language of the statute

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itself.”); Greyhound Corp. v. Mt. Hood Stages, Inc., 437 U.S. 322, 330 (1978) (same);
Brown v. Dept. of Health and Human Servs., 920 F.2d 918, 920 (Fed. Cir. 1990)
(“[A]bsent ambiguous language or clearly contrary legislative intent, a statute is construed
in accordance with its plain meaning.”); Skillo v. United States, 68 Fed. Cl. 734, 744
(2005) (“The canons of statutory interpretation require the court to consider first the plain
language of the statute . . . .”).

       To be sure, the court must add that the circumstances in which plaintiff finds itself
after having failed to appeal the CO’s Final Decision are “particularly harsh,” Renda II,
66 Fed. Cl. at 721, and that this case presents a difficult question: whether the court may
review – and determine to be a nullity – a CO’s final decision that was not appealed
within the specifically prescribed statutory period under the CDA because the CO
allegedly lacked the authority to issue the final decision under Sharman.

        The parties have not identified, and the court has not found, any binding or
persuasive authority in this court, the Federal Circuit, or the United States Supreme Court
addressing precisely this issue. The Federal Circuit has noted that “an invalid contracting
officer’s decision may not serve as the basis for a CDA action.” Case, 88 F.3d at 1009
(citing United States v. Grumman Aerospace Corp., 927 F.2d 575, 579 (Fed. Cir. 1991));
see also id. (“A contracting officer’s final decision is invalid when the contracting officer
lacked authority to issue it.”). However, this observation begs the question of how a
contractor is to determine in the first place whether a CO’s final decision is “invalid” or
whether the CO “lacked authority to issue it.” It is the court’s view that, under the plain
language of the CDA, a contractor obtains this determination by appealing an allegedly
invalid or unauthorized final decision to the BCA within ninety days, 41 U.S.C. § 606, or
by bringing action challenging such a final decision in this court within twelve months, 41
U.S.C. § 609(a)(3). See, e.g., Medina Constr., LTD v. United States, 43 Fed. Cl. 537,
541-45 (1999) (addressing whether a CO’s final decision was issued without authority
because it was already the subject of pending litigation where challenge to that authority
was made by the plaintiff within the twelve-month statutory period); see also Buse
Timber & Sales, Inc. v. United States, 45 Fed. Cl. 258, 264 (1999) (addressing
defendant’s argument that the CO’s final decision was issued without authority because it
was already the subject of pending litigation where plaintiff filed an amended complaint
challenging the final decision less than four months after CO issued it).

        As a practical matter, to allow for an exception to these statutory time limits set
forth in the CDA simply because the plaintiff’s challenge is to the “validity” of the CO’s
decision or the CO’s “authority” to issue it under Sharman, as opposed to the merits of the
decision, potentially would open the door to confusion, delay, and prejudice to the
government. Indeed, as is underscored by the parties’ extensive arguments on this issue,

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compare Pl.’s Reconsid. Mot. at 2 (“The November letter addresses or is premised on a
denial of Renda’s certified claims before this [c]ourt and involves the same operative
facts.”) with Def.’s Reconsid. Resp. at 18-22 (arguing that “the government claims to
which the November 26, 2002 [CO]’s decision is addressed are not the ‘mirror image’ of,
or the same as, the claims by Renda that are the subject of the complaint in this case”)
(capitals omitted), the Sharman “mirror image” analysis, whereby courts are to determine
whether a CO has issued a final decision on the same “claim” that is the “mirror image”
of a claim already “in litigation” such that the final decision should be deemed a nullity,
see Sharman, 2 F.3d at 1571, 1573; Case, 88 F.3d at 1010, can be difficult, fact-intensive,
and highly contentious, see, e.g., Case, 88 F.3d at 1010-11; Buse Timber, 45 Fed. Cl. at
264-267.

        Under these circumstances, a contractor should not be free to determine, on its
own, that a final decision is necessarily “in litigation” and thus a nullity, without timely
appealing the final decision to the BCA or timely filing an action challenging the final
decision in this court as set forth under the CDA. See 41 U.S.C. §§ 605(b), 606,
609(a)(3). Yet this is precisely what Renda did here. See Transcript (Tr.) of Oral
Argument of April 13, 2005 at 16:17-22 (plaintiff’s counsel, stating, “When we looked at
the November 26, 2002, contracting officer’s decision, . . . we saw it as the mirror image
or the flip side of exactly the claims that we had already asserted against the government,
and so those exact issues were already in play before the [c]ourt”). To hold otherwise
would render uncertain and inconclusive a CO’s final decision that was not challenged
within the statutory period (or not challenged at all) for an undefined and potentially
prejudicial length of time. Cf. Kasler, 123 F.3d at 346 (“Holding that district courts may
engage in inquiries as to the authority of a contracting officer at any given time would
unnecessarily and unjustifiably mire district courts in precisely the kind of substantive
review of government contract matters that the [CDA] seeks to limit to a special statutory
scheme.”). Instead, as plainly stated in the CDA, if a contractor does not elect either of
its options for appeal within the statutory period, the contracting officer’s final decision –
valid or not – “shall be final and conclusive and not subject to review by any forum,
tribunal, or Government agency.” 41 U.S.C. § 605(b); see Brown, 920 F.2d at 920
(“[A]bsent ambiguous language or clearly contrary legislative intent, a statute is construed
in accordance with its plain meaning.”).

        The court has identified a line of cases in this court holding that the statute of
limitations in the CDA is not triggered when a CO issues a final decision based on an
uncertified claim (where the claim was required to be certified under the CDA) because
the claim was not “properly submitted” and therefore the CO had no authority to issue a
decision on the claim. See United Construction Co. v. United States, 7 Cl. Ct. 47, 51
(1984) (“‘If the “claim” to the contracting officer is not certified, it has not been “properly

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submitted,” so the contracting officer does not have authority to issue a decision.’ A
contracting officer’s decision based on an uncertified claim cannot trigger the running of
the limitations periods under the CDA, because such a decision has no life under the CDA
apart from the underlying claim.” (quoting Skelly & Loy v. United States, 685 F.2d 414,
419 (Ct. Cl. 1982))); H.H.O Co. v. United States, 12 Cl. Ct. 147, 160 (1987) (“”[T]he
contracting officer’s denial of said claims in his October 26, 1983 decision is of no
consequence. Defendant’s position that a contracting officer’s decision on uncertified
claims over $50,000 have vitality if not appealed or resubmitted within 12 months of
receipt thereof is rejected. Such a decision is a nullity and the limitations provision of
section 609(a)(3) of the CDA is accordingly not activated.”); Witherington Constr. Corp.
v. United States, 45 Fed. Cl. 208, 213 (1999) (citing, inter alia, United Construction,
Skelly & Loy, and H.H.O., and finding that, “[a]s these decisions indicate, the 12-month
statute of limitations will not be triggered until receipt of a valid final decision on the
monetary claims”). However, the facts essential to the holdings in this line of cases are
not present in this case: namely, the failure to certify a claim submitted to the CO as is
required under the CDA for claims of more than the statutory amount. See Def.’s
Reconsid. Resp. App. (Final Decision) at 8 (stating that “the Contracting Officer issued 6
letters to [Renda] acknowledging receipt of various certified claims submitted by
[Renda]”); Pl.’s Memo. at 2 (“When [d]efendant ignored the [Requests for Equitable
Adjustment], Renda resubmitted them as Certified Claims.”); see also 41 U.S.C. §
605(c)(1) (“For claims of more than $100,000, the contractor shall certify that the claim is
made in good faith, that the supporting data are accurate and complete to the best of his
knowledge and belief, that the amount requested accurately reflects the contract
adjustment for which the contractor believes the government is liable, and that the
certifier is duly authorized to certify the claim on behalf of the contractor.”). Such a
failure “taint[s] every ‘decision’ that follows.” Skelly and Loy, 685 F.2d at 419; see also
id. (“In sum, any proceedings on an uncertified claim – under the CDA – are of no legal
significance. In such a case, as in this case, the review process simply has not begun.”).
The factual circumstance addressed by these authorities – in which “the review process
simply [never] beg[a]n” – is distinguishable from this case.

        Although the court has not found any binding authority addressing whether the
court may review – and determine to be a nullity under Sharman – a CO’s final decision
that was not appealed within the specifically prescribed statutory period under the CDA,
the court has found persuasive authority from the United States Court of Appeals for the
Sixth Circuit that addresses precisely this issue in United States v. Kasler Electric Co.,
123 F.3d 341 (6th Cir. 1997). In Kasler, the plaintiff and the Veterans Administration
(VA) entered into a contract in 1982 for the installation of a fire system at a VA hospital.
Id. at 342. In 1987, the plaintiff received notice of a decision from the CO terminating
the contract for default. Id. The contractor filed suit in the Claims Court in 1988

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challenging the default termination. Id. In 1990, during the pendency of the Claims
Court litigation, the CO issued another decision determining excess reprocurement costs
and ordering the contractor to pay those costs. Id. The Claims Court dismissed the suit
challenging the default termination in 1992 without prejudice for lack of subject matter
jurisdiction, finding that Kasler had not submitted a CDA “claim” to the contracting
officer as was required for jurisdictional purposes under the CDA. Id. Thereafter, in
1994, the United States filed an action in district court seeking a judgment to enforce the
CO’s 1990 decision. Id. at 343. The district court granted summary judgment in favor of
the United States, holding that “the final decision was ‘valid, final and unreviewable
under [41 U.S.C.] § 609.’” Id. (quotation omitted) (alteration in original). The Sixth
Circuit affirmed. Id. at 350.

        The Sixth Circuit in Kasler rejected the argument, made by the contractor, that “the
final decision was void when issued in 1990 because the pending litigation in the Claims
Court divested the contracting officer of authority to issue a final decision on the matter.”
Id. at 345 (noting that “Kasler bases its argument on Sharman”); see also id. (“Kasler
contends that no decision rendered during the pendency of the litigation . . . was valid.”).
The court explained:

       The provisions of the CDA allowing a contractor to dispute the
       government’s claims regarding a contract are specific, unambiguous, and
       exclusive; the statute clearly states that a contractor may seek review of a
       final decision only in a board of contract appeals or in the Court of Federal
       Claims. 41 U.S.C. §§ 605(b), 606, 609(a). Absent commencement of such
       review within the prescribed period of time, the decision becomes
       impervious to any substantive review. 41 U.S.C. § 605(b).

       ....

               Because the language of 41 U.S.C. § 605(b) clearly imparts finality
       and unreviewability on a contracting officer’s decision that is not properly
       appealed, and makes no mention of the contracting officer’s authority to
       issue the decision, we hold that challenges to the existence of that authority,
       like the merits of the dispute, can only be pursued through the statutorily
       provided means. The district court, and this court on appeal, may inquire
       only as to the finality and unreviewability of the decision that was issued –
       i.e., whether the contractor received notice of the final decision, and
       whether it timely commenced an appeal or suit in one of the provided
       forums.



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Id. at 346. The court finds the Sixth Circuit’s analysis to be persuasive, and in
accordance with the express provisions and plain meaning of the CDA.

        Here, the CO’s Final Decision may well have been on “claims” that were the
“mirror image” of the claims “in litigation” before this court. Compare Def.’s Reconsid.
Resp. App. (Final Decision) at 8 (noting, in the final paragraph of the “Findings of Fact,”
the “[b]reakdown of [the certified] claims [submitted to the CO] and dollar amounts”)
with Compl. at 29 (summarizing claims brought in this court and stating the same claims
with the same dollar amounts (less one payment on Flare Area claim)). However, this
issue was not raised within the specifically prescribed statutory period under the CDA and
thus was never properly before the court. The time and place to challenge the authority of
the CO to issue the Final Decision was within ninety days of plaintiff’s receipt of the
Final Decision in the Board, 41 U.S.C. § 606, or within twelve months of plaintiff’s
receipt of the Final Decision in this court, 41 U.S.C. § 609(a)(3). Plaintiff failed to do
either, and this failure is fatal to plaintiff’s challenge. The government has not waived its
sovereign immunity with respect to challenges of a CO’s final decision lodged after the
prescribed statutory period has expired, and the court refuses to fashion an exception to
this statutory period absent Congressional action or authority to do so. See Hart, 910 F.2d
at 819 (“Courts are not free to engraft exceptions on the statute of limitations. Should
Congress so desire, it may lengthen the time for bringing suit against the government.”);
Gregory Lumber, 229 Ct. Cl. at 763 (“Congress has set the twelve-months limit, and this
court cannot and should not read into it exceptions and tolling provisions Congress did
not contemplate or authorize.”). Accordingly, the court declines to rule on the validity of
the CO’s Final Decision, and plaintiff’s arguments based on Sharman do not persuade the
court to reconsider the court’s April 19, 2005 Opinion and Order finding that the Final
Decision “is now ‘final and conclusive’ and not reviewable by this court.” Renda I, 65
Fed. Cl. at 162 (quoting 41 U.S.C. § 605(b)); accord Kasler Elec., 123 F.3d at 346.

       b.     Whether the Contracting Officer’s Alleged “Gross Mistake” Provides an
              Exception to the Twelve-Month Statutory Time Limit Provided in the CDA
              for Bringing an Action in This Court Based on a Contracting Officer’s Final
              Decision

        Plaintiff states that it “believes there is significant evidence that the CO’s [Final
Decision] was issued as a result of gross mistake and that its failure to appeal within one
year is therefore excused.” Pl.’s Supp. Br. at 4. Plaintiff provides no authority in support
of the proposition that the “gross mistake” of a CO in issuing a decision on a contractor’s
claim excuses the contractor from timely appealing the CO’s decision. See id. at 3-4.
The reason plaintiff provides no authority in support of this proposition is that such
authority does not exist. “Because Congress legislatively mandated the twelve-month

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time period, it cannot be extended out of sympathy for particular litigants, even if this
effects a seemingly harsh result.” White Buffalo Constr., 28 Fed. Cl. at 147. If Congress
had wanted to provide an exception to the twelve-month statute of limitations in section
609(a)(3) or the finality rule in section 605(b) for “gross mistake” on the part of the CO, it
would have done so.10 Absent such congressional action, regardless of whether or not the
CO’s Final Decision was made as a result of “gross mistake,” the court may not review
the Final Decision because the twelve-month period had indisputably expired before
plaintiff raised its challenge in this court. See 41 U.S.C. §§ 605(b), 609(a)(3); Hart, 910
F.2d at 819; Gregory Lumber, 229 Ct. Cl. at 763.

        c.      Whether the Contracting Officer’s Lack of Independence Provides an
                Exception to the Twelve-Month Statutory Time Limit Provided in the CDA
                for Bringing an Action in This Court Based on a Contracting Officer’s Final
                Decision

        Plaintiff argues that, “[i]n light of the testimony of the CO that is contrary to some
of the facts asserted in the CO’s [Final Decision], as well as the other factual errors in that
[Final Decision], there is a serious question as to whether any of the claims asserted in the
CO’s [Final Decision] were actually the CO’s decisions.” Pl.’s Supp. Br. at 5. According
to plaintiff, if they are not, “the decision of the contracting officer . . . is invalid” and


        10
        Indeed, as pointed out by defendant, Congress knows how to draft exceptions to finality
rules when it wishes to do so:

        The CDA itself, with respect to the finality of board decisions, provides that, “[i]n
        the event of an appeal by a contractor or the Government from a decision by any
        agency board pursuant to [41 U.S.C. § 607], notwithstanding any contract
        provision, regulation, or rules of law to the contrary, the decision of the agency
        board . . . on any question of fact shall be final and conclusive and shall not be set
        aside unless the decision is fraudulent, or arbitrary, or capricious, or so grossly
        erroneous as to necessarily imply bad faith, or if such decision is not supported by
        substantial evidence.” 41 U.S.C. § 609(b) (2000) (emphasis added); see also 41
        U.S.C. § 608(d) (2000) (“A decision against the Government or the contractor
        reached under the small claims procedure shall be final and conclusive and shall
        not be set aside except in cases of fraud.” (emphasis added)). No such exceptions
        to finality are called out in 41 U.S.C. § 605(b), however. A contracting officer’s
        decision upon a claim that is not the subject of a timely appeal or suit “shall be
        final and conclusive and not subject to review by any forum, tribunal, or
        Government agency[].” [41 U.S.C. § 605(b)].

Def.’s Supp. Br. Resp. at 26 (first alteration in original).

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plaintiff is excepted from complying with the statute of limitations for challenging the
CO’s Final Decision. Id. Again, plaintiff provides no authority in support of this
purported “exception” to the statute of limitations in the CDA. See id. at 3, 5.
Accordingly, the court declines to read into the statute such an exception and does not
reach the merits of plaintiff’s contention. See Hart, 910 F.2d at 819; Gregory Lumber,
229 Ct. Cl. at 763.

        Plaintiff was on notice of any “factual errors” in the final decision when it received
it on or around November 26, 2002. Under the clear and specific procedure set forth in
the CDA and communicated to plaintiff in the Final Decision, plaintiff could have
challenged the alleged “factual errors” in the Final Decision by appealing it to the Board
within ninety days, or by bringing an action in this court within twelve months. Plaintiff
failed to do so. The court’s inquiry is therefore at an end.

       d.      Conclusion

        For the foregoing reasons, the court finds that plaintiff is not excepted from the
twelve-month statutory time limit provided in section 609(a)(3) of the CDA for bringing
an action in this court based on the CO’s Final Decision, 41 U.S.C. § 609(a)(3), and that
plaintiff is not excepted from the clear and explicit finality rule provided in section 605(b)
of the CDA mandating that the CO’s Final Decision be “final and conclusive” and
unreviewable by this court if an appeal or suit is not timely commenced, 41 U.S.C.
605(b).

III.   Conclusion

       For the foregoing reasons, plaintiff’s Motion for Reconsideration is DENIED. The
court’s April 19, 2005 Opinion and Order remains in full force and effect. The foregoing
resolves all outstanding issues in this case.11 For the reasons stated in the court’s Trial
Opinion and opinions and orders of the court issued thereafter, the Clerk of the Court is
hereby directed to ENTER JUDGMENT for defendant. No costs.

       IT IS SO ORDERED.
                                                      s/ Emily C. Hewitt
                                                      EMILY C. HEWITT
                                                      Judge


       11
         The court notes the existence of several outstanding motions relating to pretrial and trial
proceedings. See Docket Nos. 62, 64, 88, 89, 129, 165 and 191. All such motions, to the extent
not disposed of in pretrial and trial proceedings, are MOOT.

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